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 6                        IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8
 9   Jeremy Pinson,                                 No. CV-20-00070-TUC-RM
10                  Plaintiff,                      ORDER
11   v.
12   United States of America,
13                  Defendant.
14
15            Pending before the Court is Plaintiff Jeremy Pinson’s Motion for Rule 11
16   Sanctions. (Doc. 118.) Defendant United States of America responded in opposition.

17   (Doc. 121.) For the following reasons, the Motion for Sanctions will be denied.
18   I.       Background

19            Defendant filed a Motion for Summary Judgment on January 14, 2022. (Doc. 99.)

20   The Court ordered Plaintiff to respond on or before February 18, 2022. (Doc. 103.) On
21   February 3, 2022, Plaintiff filed a motion seeking to stay the summary judgment briefing
22   (Doc. 108), and on March 4, 2022, she filed a motion seeking an extension of her

23   deadline to respond to the Motion for Summary Judgment (Doc. 112). In the Motion for

24   Extension of Time, Plaintiff argued, in relevant part, that an extension of her response

25   deadline was justified because she was pending a transfer that would imminently separate

26   her from her files in this case. (Doc. 112.) In response to the Motion for Extension of
27   Time, Defendant stated that, as of March 17, 2022, Plaintiff was neither pending re-
28   designation nor re-designated. (Doc. 115 at 3.) Defendant supported this averment with
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 1   a declaration by Federal Bureau of Prisons (“BOP”) Legal Assistant Lorri Mitchell and a
 2   copy of Plaintiff’s SENTRY record as of March 17, 2022, showing that Plaintiff at that
 3   time was designated to USP II—Coleman, Florida. (Doc. 115-1 at 2-7.)
 4          The Court denied the Motion to Stay and partially granted the Motion for
 5   Extension of Time. (Doc. 117.) The Court extended Plaintiff’s response deadline to May
 6   13, 2022 but denied without prejudice her request to extend the response deadline until
 7   after her transfer. (Id. at 5.) The Court granted Plaintiff leave to re-file a motion seeking
 8   an extension of the response deadline if she was transferred to another institution and the
 9   transfer interfered with her ability to file her response. (Id.) Plaintiff filed her Response
10   in opposition to Defendant’s Motion for Summary Judgment on February 28, 2022.
11   (Doc. 119.)
12          On February 25, 2022, Plaintiff filed the pending Motion for Rule 11 Sanctions,
13   arguing that defense counsel misled the Court regarding Plaintiff’s pending transfer.
14   (Doc. 118.) On May 16, 2022, Plaintiff filed a Notice of Change of Address indicating
15   she was located at the Federal Transfer Center and was en route to the United States
16   Penitentiary (“USP”)—Tucson. (Doc. 124.) On June 13, 2022, Plaintiff filed a Notice of
17   Change of Address indicating she had been transferred to USP—Tucson as of June 3,
18   2022. (Doc. 125.)
19   II.    Legal Standard
20          By filing a written motion or other paper, “an attorney or unrepresented party
21   certifies,” in relevant part, “that to the best of the person’s knowledge, information, and
22   belief, formed after an inquiry reasonable under the circumstances” that the “factual
23   contentions” contained in the filing “have evidentiary support” and that “the denials of
24   factual contentions are warranted on the evidence or, if specifically so identified, are
25   reasonably based on belief or a lack of information.” Fed. R. Civ. P. 11(b)(3)-(4). The
26   Court may, after notice and a reasonable opportunity to respond, impose an appropriate
27   sanction on an attorney, law firm, or party that violates Rule 11(b) or is responsible for
28   the violation. Fed. R. Civ. P. 11(c)(1).


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 1   III.   Discussion
 2          Plaintiff argues that her transfer was made pursuant to an agreement in District of
 3   Arizona case number 13-cv-2059, and that defense counsel misled the Court in the
 4   representations she made in Defendant’s Response to Plaintiff’s Motion for Extension of
 5   Time. (Doc. 118.)
 6          Defendant avers that the statements made in response to Plaintiff’s Motion for
 7   Extension of Time were accurate based on then-available information.         (Doc. 121.)
 8   Specifically, Defendant avers that a review of the docket in Pinson v. Federal Bureau of
 9   Prisons, CV 4:13-cv-02059-BGM, does not support Plaintiff’s contention that the parties
10   in that case agreed to a transfer as part of settlement negotiations. (Doc. 121 at 2.)
11   Defendant further avers that inmate designation and re-designation decisions are made by
12   the Bureau’s Designation and Sentence Computation Center (“DSCC”), that DSCC staff
13   update an inmate’s SENTRY record when a decision to re-designate has been made, and
14   that as of March 17, 2022, Plaintiff’s SENTRY record did not indicate she was pending
15   re-designation or re-designated. (Doc. 2-3.) Defendant attaches a minute entry from case
16   number CV 4:13-cv-02059-BGM, as well as a declaration by BOP Paralegal Specialist
17   Jennifer Vickers, who reviewed Plaintiff’s SENTRY records and found that Plaintiff was
18   designated to USP-Tucson on April 12, 2022. (Doc. 121-2 at 2; Doc. 121-3 at 2-3.)
19          Plaintiff’s SENTRY record as of March 17, 2022, and the declarations of Lorri
20   Mitchell and Jennifer Vickers, show that Plaintiff was designated to USP—Tucson after
21   Defendant had already filed its Response to Plaintiff’s Motion for Extension of Time.
22   (Doc. 115-1 at 2-7; Doc. 121-3 at 2-3.) The docket in Pinson v. Federal Bureau of
23   Prisons, CV 4:13-cv-02059-BGM, indicates that the parties attended a settlement
24   conference on January 31, 2022 but did not settle, with the parties planning to request a
25   stay of further proceedings in order to continue their negotiations. (Doc. 164 in CV 4:13-
26   cv-02059-BGM.) The docket further indicates that, on April 14, 2022, the parties held a
27   scheduling conference before Magistrate Judge Bruce G. Macdonald, discussing possible
28   trial dates and other pretrial matters. (Doc. 176 in CV 4:13-cv-02059-BGM.) The docket


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 1   does not indicate that the parties in that case reached any agreement concerning
 2   Plaintiff’s transfer; if the parties had discussions concerning any such agreement, those
 3   discussions are not apparent from a review of the docket.
 4         Defense counsel’s review of Plaintiff’s then-current SENTRY records and the
 5   docket in case number CV 4:13-cv-02059-BGM satisfies the reasonable inquiry standard
 6   of Federal Rule of Civil Procedure 11. Plaintiff has not shown that the statements that
 7   Defendant made in its Response to Plaintiff’s Motion for Extension of Time were false or
 8   misleading based on the information that was available to defense counsel at the time the
 9   Response was filed. Accordingly, Plaintiff’s Motion for Sanctions will be denied.
10         IT IS ORDERED that Plaintiff’s Motion for Sanctions (Doc. 118) is denied.
11         Dated this 24th day of June, 2022.
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